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                        8

                       9
                                                          UNITED STATES DISTRICT COURT
                       10
                                            EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                       11

                       12
                            ARIEL ELIA, individually and as Successor            Case No. 1:16-CV-00557-AWI-EPG
                       13   Trustee to the Alan Elia Declaration of Trust
                            Dated March 18,2002,                                 DEFENDANTS' MOTION FOR
                       14                                                        JUDGMENT AS A MATTER OF LAW
                                           Plaintiff,                            [Fed.R.Civ.P. 50]
                       15
                                   V.

                       16
                            JOHN ROBERTS, an individual; TEXAS
                       17   ENVIRONMENTAL PRODUCTS, INC., a                      Trial Date:     October 31,2017
                            Texas corporation; and TEXAS
                       18   ENVIRONMENTAL PRODUCTS, a
                            partnership, joint venture or other form of
                       19   business organization unknown, and DOES I
                            through 20, inclusive.
                       20
                                           Defendant.
                       21

                       22          DefendantsJOHN ROBERTS, TEXASENVIRONMENTAL PRODUCTS, INC., andTEXAS
                       23   ENVIRONMENTAL PRODUCTS herebymoveforjudgment as a matterof lawpursuant to Rule50
                       24   of the Federal Rules of Civil Procedure.

                       25                                                   I.

                       26                                          INTRODUCTION

                       27          Trial of this case is ongoing. Plaintiffhasnow closed its evidence. Based on what hasbeen
                       28   admitted, judgment as a matter of law inDefendants' favor is appropriate on several issues: (1) the
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                        1   failureofproofon whethera partnership was formedin this relationship, giventhe lackofevidence of
                        2   an agreement to share profits and losses, a completely inconsistenttrack recordofpayoutsto Plaintiff,
                        3   the Plaintiffs receipt of IRS Form 1099s for these payment reflecting they were compensation, not
                        4   partner profits, the lack of shared management and co-ownership, and the absence of evidence of

                        5   commencement and termination dates for the alleged partnership; (2) the proof of damages; and (3)

                        6   the lack of proof of any basis to hold Defendant John Roberts individually liable for acts of the
                        7   corporate Defendant Texas Environmental Products, Inc. ("TEP"), when the evidence clearly shows
                        8   all payments to Plaintiff were made by TEP and TEP was in control of this business.

                        9                                                     II.

                       10                         STANDARDS GOVERNING A RULE 50 MOTION
                                                    FOR JUDGMENT AS A MATTER OF LAW.
                       11

                       12          Rule 50(a) provides: "If a party has been fully heard on an issue during a jury trial and the

                       13   court finds that a reasonablejury would not have a legally sufficient evidentiary basis to find for the
                       14   party on that issue, the court may: [f] "(A) resolve the issue against the party; and [10 "(B) grant a

                       15   motion for judgment as a matter of law against the party on a claim or defense that, under the

                       16   controlling law, can be maintained or defeated only with a favorable finding on that issue."

                       17          "Judgment as a matter of law is appropriate when the evidence, construed in the light most

                       18   favorable to the nonmoving party, permits only one reasonable conclusion... ." Hagen v. City of
                       19   Eugene, 136 F.3d 1251,1256 (9^ Cir. 2013), quoting Omega Envtl, Inc. v. Gilbarco, Inc., 127 F.3d
                       20   1157,1161 (9th Cir. 1997). A motion may be made "at any time before submission ofthe case to the

                       21   jury." Fed.R.Civ.P. 50(a)(2).

                       22                                                    III.

                       23                    PLAINTIFF HAS PRODUCED INSUFFICIENT EVIDENCE
                                                OF AN AGREEMENT TO FORM A PARTNERSfflP
                       24

                       25          Unless the relationship falls within exceptions noted in the statute, "the association oftwo or

                       26   more persons to carry on as co-owners a business for a profit forms a partnership, whether or not the

                       27   persons intended to form a partnership." Gal. Corp. Code § 16202(a).            An exception is joint

                       28   ownership of property, which is deemed by itself insufficient to prove a partnership. Id. 16202(c).
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                        1   And an agreementto share gross revenuesdoes not ofitself prove a partnership. Id. An agreement to
                        2   share profits is presumed a partnership unless the payments are for a debt owed the payee, as
                        3   compensation for services, rent, annuity payments, or interest on a loan, or payment for the sale of
                        4   goodwill of the business. Id. The question of formation is one of fact to be determined by a
                        5   preponderance of the evidence . Second Measure Inc. v. Kim, 143 F.Supp.3d 961, 971 (N.D. Cal.
                        6   2015) (applying California law).

                        7          Sharing of Profits. Proofof thepartnership is measured bythe "crucialfactorof theintent of
                        8   the parties revealed in the terms oftheir agreement, conduct,and the surroundingcircumstances...."
                        9   Holmes v. Lerner, 74 Cal.App.4^ 442,454 (1999). "Generally, apartnership connotes co-ownership
                       10   in partnership property, witha sharing in the profitsand losses of a continuing business." (emphasis
                       11   added) Chambers v. Kay, 29 Cal.4^ 142,151 (2002); accord People v. Park, 87 Cal.App.3d 550,564
                       12   (1978) ("[I]t is well establishedthat the essentialelements of both ajoint ventureandpartnership area
                       13   sharing of profits as well as losses and a right to joint management and control of the
                       14   business."(emphasis added)) While agreed termsmaybe inferred from theparties' conduct, theproof
                       15   of terms will fail unless there is some evidence of an agreed formula or methodology to figure the

                       16   profits. Sandberg v. Jacobson, 253 Cal.App.2d 663, 668-669 (1967).
                       17          While the absence of a specific profit formula is not fatal to finding a partnership. Holmes,
                       18   supra, 74 Cal.App.4^ at456 n. 16, where ashere the parties' own conduct inpaying out money, even
                       19   ifconstruedas payment of partner profits, shows an erratic,random and entirely inconsistentpattern
                       20   ofdivision, there is no basis for a definitive determination that this supports a finding ofpartnership,

                       21   and no way to figure what is owed to Plaintiff. There is not an absence oftrack record on payment,

                       22   but that record is simply too inconsistent and speculative to show other than a purely subjective
                       23   process ofpaying purported profits. Resort to a presumptionofequal share is not appropriate where
                       24   the parties' own conduct shows they never adhered to such a method of division, or to any

                       25   determinable method.

                       26          Sharing of Losses, Co-Ownership of Business Property. As noted above, "Generally, a
                       27   partnership connotes co-ownership in partnership property,witha sharingin the profitsand lossesofa
                       28   continuing business." Chambers v. Kay, 29 Cal.4^ 142,151; 0.000x6. People v. Park, 87 Cal.App.3d
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                           1   550, 564 ("[I]t is well established that the essential elements of both a joint venture and partnership

                       2       are a sharing ofprofits as well as losses and a right to joint management and control ofthe business.")

                       3       In Chambers^ the Supreme Court rejected a partnership finding where two lawyers operated a law

                       4       practice and worked on cases together, but "no evidence suggests [they] acted as co-owners ofa law

                       5       firm or office, or that they contemplated sharing in the profits and losses of a continuing business

                       6       engaged in the practice of law." Id. Likewise here: there is no evidence ofany agreement to co-own

                       7       the business or its property, and no agreement to share profits and losses.

                       8              Shared Management. Critical to a partnership is an agreement to jointly participate in the

                       9       management ofthe business. "For breach of a partnership or joint venture, the plaintiffmust further

                      10       allege an agreement to participate in the management ofthe business." SecondMeasure, supra, 143

                      11       F.Supp.3d at971, citing Kaljian v. Menezes, 36 Cal.App.4^ 573,586 (1995) ("An essential element of
                      12       a partnership or joint venture is the right ofjoint participation in the management and control ofthe

                      13       business."); see People v. Park, supra, 87 Cal.App.3d 550, 564 ("[I]t is well established that the

                      14       essential elements ofboth a joint venture and partnership are a sharing ofprofits as well as losses and

                      15       a right to joint management and control of the business.") ; Cal. Corp. Code § 16401(f) ("Each

                      16       partner has equal rights in the management and control of the partnership business.").

                      17              There is no evidence ofan agreement between the decedent and Mr. Roberts to share the right

                      18       to management of this business and no basis to infer such an agreement fi"om conduct. While

                      19       allegations of agreed share ofdifferent management duties and that both worked long hours to make

                      20       the business successful can be sufficient to defeat a motion to dismiss the claim of breach of a

                      21       partnership agreement. Second Measure, supra, 143 F.Supp.3d at 978-979, here there is no proof of

                      22       any such shared right or exercise ofmanagement duties. Instead from all that appears Mr. Roberts had

                      23       complete control over the enterprise and made decisions on all matters including how much would be

                      24       paid out to the decedent. Nor is there proof that the partners delegated these duties entirely to Mr.

                      25       Roberts that would show sufficientjoint control ofthe business. Asking the decedent to negotiate the
                      26       sale ofproperty in 2015 ifanything showed only Roberts controlled and ran this business—otherwise

                      27       his permission to perform that service would not have been needed.

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                        1          Payment for Services. Additional evidence supports that the moneypaid to the decedentwas
                        2   payment for services performed, not partnership profit. TEP issued Form 1099s to the decedent for
                        3   the years in question. Form 1099-MISC is an informational return required by the IRS to report

                        4   payment of income       to non-employees, such as payments to independent contractors.         See
                        5   https://www.irs.gov/pub/irs-Ddf^i1099msc.Ddf(IRS form 1099). The forms indicate the payments are

                        6   for "non-employeecompensation."Ofcourse compensationis for services, not for a partner's shareof
                        7   profit. A Form 1065 Schedule K-1 is used to report a "Partner's Share of Income, Deductions,
                        8   Credits, etc." See https://www.irs.gov/pub/irs-pdf^fl 065ski .pdf (IRS form K-1). No evidence has

                        9   beenproducedto showthe decedentobjectedto receivingand usingthe Form 1099s to reporthisown
                       10   income for services, or that he ever requested a K-1 form for a partner's income.

                       11          Paymentsof"profit" that are made to compensatefor servicesas an employeeor independent
                       12   contractor, even if based on profits, do not show a partnership. Gal. Corp. Code § 16202(c)(3)(B);

                       13   see Brockman v. Lane, 103 Cal.App.2d 802, 804-805 (1951) (unsigned writing setting out an
                       14   agreement to pay party for 5 years salary plus a profit share for supervising farming services on
                       15   defendant's property showed an employment for services, not a partnership, where property
                       16   ownershipand entire risk ofloss stayed with defendant); Lydenv. Spohn-Pathck Co., 155 Cal. 177,
                       17   180 (1909) (where agreement was to pay plaintiff advances against one-half ofprofits ofbusinessas
                       18   his compensation for sales services, no partnership was formed—^plaintiff was to have no title to
                       19   property and no liability for debts).

                       20          Statements of"Partner" Status: "One who alleges a partnership cannot prove it merely by
                       21   evidenceofan agreementwherein the parties call themselvespartners. Theuse oftheterm 'partner' in
                       22   the popular sense, or as a matter of business convenience, will not necessarily import or imply an
                       23   intention that a legal partnership should result." Kloke v. Pongratz, 38 Cal.App.2d 395,402 (1940),
                       24   quoted inPersson v. SmartInventions, Inc., 125 Cal.App.4^^ 1141,1158 (2005). Unless there is prima
                       25   facie evidence of partnership from other evidence, such statements are irrelevant and inadmissible.
                       26   Kloke, supra, 38 Cal.App.2d at 402, citing Swanson v. Siem, 124 Cal.App.519, 523-524 (1932)
                       27   ("Before a partner may be charged, as such, by his declarations, a prima facie showing of the
                       28
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                           1   existence of the copartnership should be first established.             Here as discussed above there is

                           2   insufficient prima facie evidence ofpartnership from other sources. Defendant Roberts's colloquial

                           3   statements, even iffoimd to have been made, cannot by themselves show a partnership and cannot be

                           4   used if that is all the evidence Plaintiff has.

                           5           In sum, there is insufficient evidence of a partnership to merit a jury determination of the

                           6   subject. Even ifthe formation issue is enough for the jury, the jury is without any basis to calculate

                           7   the profit share ofthe decedent other than by simply presuming, against the historical evidence, that

                           8   the split should be 50-50. Where the parties are silent on the subject, an equal split may be inferred.
                           9   However, where the parties clearly never split the profits that way, to allow the jury to do so is to fill a

                       10      gap in the evidence, and indeed to contradict the historical evidence,which is not proper. Plaintiffhas

                       11      not proven with any evidence other than an expert's surmise that the percentages were "close" to 50-
                       12      50 (the actual record speaks for itself on what is or is not "close"). Plaintiffis pressing for a verdict
                       13      that is both speculative and contrary to the extremely inconsistent and vague "agreement" found in
                       14      Plaintiffs theory of the case. Damages will be calculated on speculation, not evidence.
                       15                                                          IV.

                       16                      PLAINTIFF HAS INTRODUCED INSUFFICIENT EVIDENCE
                                                    OF DAMAGES TO SUPPORT A JURY FINDING
                       17

                       18              Proof of liability in this case depends on proof ofbreach ofa partnership agreementwith the
                       19      decedentand other elementsofthe claim,including damagesproximately causedbythe breach. "To
                       20      adequately plead a claim for breach of contract under California law, a plaintiff must allege "a
                       21      contract, plaintiffs performance or excuse for failure to perform, defendant's breachand damage to
                       22      plaintiffresulting therefrom." SecondMeasure, supra, 143 F.Supp.3d at 971, quoting McKell v. Wash.
                       23      Mut., Inc., 142 Cal.App.4th 1457,1489 (2006).
                       24             Plaintiffs damages claim fails for two reasons. First, as discussed above, Plaintiff has not
                       25      shown a sufficiently definite and calculable track record of payouts of profits to support a jury
                       26

                       27
                               ' Swanson said the evidence ofpartnership must be "competent"; the Supreme Court later clarified
                               this did notmean the sameas clearand convincing evidence, rejecting othercourts thathadimposed
                       28      that higher burden ofproof. Weiner v. Fleischmann, 54 Cal.3d 476, 485 (1991).
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                           1   calculation ofdamages caused by this alleged breach. Damages cannot be based on speculation. See
                       2       CACI3900 (Defendant's Proposed Instructions, Att. 2, No. 6) (".. .you must not speculate or guess in
                       3       awarding damages."); Piscitelli v. Friedenberg, 87 Cal.App.4'^ 953, 989 (2001) ("Whatever its
                       4       measure in a given case, it is fundamental that 'damages which are speculative, remote, imaginary,

                       5       contingent, or merely possible cannot serve as a legal basis for recovery.'")

                       6              Second, as to Plaintiffs claims for commissions for 2015, Plaintiffhas failed to prove the sales

                       7       amounts and percentage on which such claim for a commission is based. Without such evidence the

                           8   jury once again is left to guess what the commission is or might be. Counsel may try to address this

                       9       issue in closing arguments, in which case the argument will be based solely on covmsel's

                      10       characterizations ofthe relationship and agreement and not actual evidence introduced and admitted

                      11       through proper trial process. As such the request for a commission is without any evidentiary basis
                      12       and this must be removed from the jury's determinations on this motion.

                      13                                                         V.

                      14                 JUDGMENT SHOULD BE ENTERED IN FAVOR OF JOHN ROBERTS
                                                     AS AN INDIVIDUAL DEFENDANT
                      15

                      16              It is clear the partner of the decedent was not John Roberts individually but the corporation

                      17       TEP, Inc. The P & Ls for 2010-15 are for the corporation. The pajmients to Allen Elia and then to

                      18       Cosgrove were made by TEP, Inc. (See TE 44) They show corporate formalities and accounting rules

                      19       were being followed to respect the corporate identity. The records including the 1099s given to Elia

                      20       show the payments were being made by TEP, not Mr. Roberts. There is no testimony he commingled

                      21       funds or otherwise treated the corporation as having no separate existence. TEP's returns were used
                      22       for tax purposes, not Mr. Roberts's individual returns. Erickson never requested his individual

                      23       returns. The accountants only analyzed records ofTEP, and parties like Sullivan and Ross asked for

                      24       TEP's financials. Any statements that John was a partner are colloquial shorthand and do not reflect

                      25       an intent to make him the partner rather than the corporation.

                      26              "A corporation is a distinct legal entity from its stockholders and from its officers." Merco

                      27       Construction Engineers, Inc. v. Municipal Court, 21 Cal.3d 724,729 (1978). "A corporation and its

                      28       stockholders are generally to be treated as separate entities. Only under exceptional circumstances -
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                        1   not present here—can the difference be disregarded." Burnet v. Clark, 287 U.S. 410, 415 (1932);
                        2   accord Maxwell Cafe, Inc. v. Dept. ofAlcoholic Beverage Control, 142 Cal.App.2d 73, 78 (1956)
                        3   (exceptionalcircumstances required). "After all, incorporation's basic purpose is to create a distinct
                        4   legal entity, with legal rights, obligations, powers, and privileges different from those of the natural
                        5   individuals who created it, who own it, or whom it employs." Cedric Kushner Promotions Ltd v.

                        6   King, 533 U.S. 158,163 (2001).

                        7           This means contracts by the corporation are not those ofthe owner. "The corporation and the
                        8   shareholders are distinct parties in contracts made by one or the other." Baker Divide Mining Co. v.

                        9   Maxfield, 83 Cal.App.2d 241,248 (1948). Since partnership depends on an agreement to carry on a

                       10   business as co-owners for profit, Cal. Corp. Code §16202(a), ifthe party to that agreement in reality

                       11   was TEP, Inc., the contract made by TEP is not one made by John Roberts individually. Any
                       12   "person" can be a partner and the UPA defines "person" to include corporations. Cal. Corp. Code §§

                       13   16101(13) ("person" includes corporations); 16202(a) (partnership is "an association oftwo or more
                       14   persons to carry on as coowners a business for profit...."

                       15           An individual owner may be held liable on an alter ego theory if it is alleged and proven.

                       16   "There must be affirmative proofor direct inference from proofthat there is such unity ofinterest and

                       17   ownership as indicates cessation of the individuality and separateness of the individuals and the

                       18   corporation." Maxwell Cafe, Inc. v. Dept. ofAlcoholic Beverage Control, supra, 142 Cal.App.2d73,

                       19   78. "The corporation must be treated as a separate entity until such proof is made." Id. at 78.

                       20           "[T]he doctrine of alter ego is 'essentially an equitable one and for that reason is particularly

                       21   within the province ofthe trial court.'" Stark v. Coker, 20 Cal.2d 839,846 (1942), quoted in Dolarian

                       22   Capital, Inc. v. SOC, LLC, 2013 WL 433001, at * 3 (E.D. Cal. 2013) (O'Neill, J.).

                       23           Here Plaintiffhas neither alleged nor proven the elements necessary to establish any alter ego

                       24   relationship between TEP and Mr. Roberts. In any case, this is not a jury issue. No claims should be

                       25   presented to the jury relating to his individual liability. Judgment as a matter oflaw is appropriate on

                       26   this record.

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                        1                                                VI.
                                                                     CONCLUSION
                        2

                        3            For the above reasons, Defendants respectfully move for an orderofjudgmentas a matterof
                        4   law on Plaintiffs claims for relief, which are entirely based on the existence of a partnership.
                        5   Alternatively, Defendants request that if themotionis deniedon the partnership issues, it be granted
                        6   on claims against John Roberts individually.

                        7   Dated: November f , 2017                                     Respectfully submitted,
                        8                                                      McCORMICK, BARSTOW, SHEPPARD,
                                                                                      WAYTE & CARRUTH LLP.
                        9

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                                                                                           Marshall C. Whitney
                       12                                                                   Kristi D. Marshall
                                                                              Attorneys for JOHN ROBERTS and TEXAS
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                                                                                ENVIRONMENTAL PRODUCTS, INC.
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                        1                                         PROOF OF SERVICE

                        2   STATE OF CALIFORNIA, COUNTY OF FRESNO

                        3         At the time of service, I was over 18 years of age and not a party to this action. I am
                            employed in the County of Fresno, State of California. My business address is 7647 North Fresno
                        4   Street, Fresno, CA 93720.

                        5           On November 8, 2017, I served true copies of the following document(s) described as
                            DEFENDANTS' MOTION FOR JUDGMENT AS A MATTER OF LAW [FED.R.CIV.P. 50] on
                        6   the interested paities in this action as follows:

                        7          Neal Costanzo Esq.
                                   Costanzo & Associates, PC
                        8          575 B. Locust Avenue, Suite 115
                                   Fresno, CA 93720
                        9          ncostanzo@costanzolaw.com

                       10          Attomevs for Plaintiff

                       11           BY ELECTRONIC SERVICE (E-MAIL): Based on a court order or an agreement of the
                            parties to accept electronic service, my electronic service address service is
                       12   eIizabeth.davis@mccormickbarstow.com, and I caused the document(s)to be sent to the persons at the
                            electronic service address(es) listed in the Service List. I did not receive, within a reasonable time
                       13   after the transmission, any electronic message or other indication that the transmission was
                            unsuccessful.
                       14
                                    BY CM/ECF NOTICE OF ELECTRONIC FILING: I will electronically filed the
                       15   document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case who
                            are registered CM/ECF users will be served by the CM/ECF system. Participants in the case who are
                       16   not registered CM/ECF users will be served by mail or by other means permitted by the court rules.

                       17          I declare under penalty of perjury under the laws of the United States of America that the
                            foregoing is true and correct and that I am employed in the office of a member ofthe bar of this Court
                       18   at whose direction the service was made.

                       19          Executed on November 8, 2017, at Fresno, Californ

                       20

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                                                                              Elizabeth Sue Dav
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